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                             YOUTUBE VIDEO
                    https://www.youtube.com/shorts/YjzlmKz_MM8




 Time: 0:01
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 Time: 0:02




 Time: 0:03
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 Time: 0:04




 Time: 0:05
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 Time: 0:06




 Time: 0:07
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 Time: 0:08




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                         INSTAGRAM VIDEO
                  https://www.instagram.com/p/DIAH9vps19y/?hl=en
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                          FACEBOOK VIDEO
                     https://www.facebook.com/McNallyOfficial1/
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                               TIKTOK VIDEO
        https://www.tiktok.com/@mcnallyofficial/video/7489223700735118622?lang=en
